UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Defendant.

)
UNITED STATES OF AMERICA )
)
Vv. ) Criminal No. 21-0626 (PLF)
)
DEREK COOPER GUNBY, )
)
)
)

THIRD AMENDED SCHEDULING ORDER

On May 5, 2023, the Court issued a Scheduling Order setting forth pretrial
deadlines and the bench trial schedule in this case. See Second Amended Scheduling Order
[Dkt. No. 53]; see Joint Status Report and Motion to Exclude Time Under the Speedy Trial Act
[Dkt. No. 49]. On July 24, 2023, the Court issued an Order providing further information about
when trial in this case shall commence. See Order [Dkt. No. 55].

On August 8, 2023, Mr. Gunby filed a notice indicating that he has elected to
proceed by way of jury trial rather than by way of bench trial. See Defendant Gunby’s
Unopposed Motion and Notice of Election to Be Tried by Jury After Previously Indicating an
Intent to Waive Trial by Jury [Dkt. No. 58]. The government does not oppose Mr. Gunby’s
request for a jury trial. It is hereby

ORDERED that Mr. Gunby’s Unopposed Motion and Notice of Election to Be

Tried by Jury After Previously Indicating an Intent to Waive Trial by Jury [Dkt. No. 58] is

GRANTED; it is
FURTHER ORDERED that a jury trial in this matter will commence promptly

with jury selection after the conclusion of trial in United States v. Baez, Crim. No. 21-0507,

consistent with this Court’s Order of July 24, 2023 [Dkt. No. 55]; it is

FURTHER ORDERED that if trial in United States v. Baez concludes prior to

October 2, 2023, then jury selection in this matter shall commence on October 2, 2023, at 10:00
a.m. in Courtroom 29 in the William B. Bryant Annex to the E. Barrett Prettyman Courthouse at
333 Constitution Avenue N.W., Washington, D.C. 20001; it is

FURTHER ORDERED that, if trial in United States v. Baez concludes on

October 2, 2023, then jury selection in this matter shall commence at 1:45 p.m. on October 3,
2023; it is

FURTHER ORDERED that, if trial in United States v. Baez concludes on

October 3, 2023 or any day thereafter, then jury selection in this matter shall commence at 10:00
a.m. the next weekday that is not a holiday; and it is
FURTHER ORDERED that the remaining pretrial proceedings in this case shall

be governed by the following schedule:

Date Description

September 5, 2023 The parties shall file oppositions to the motions in

limine and Daubert motions filed on August 22,
2023.

September 12,2023 | The parties shall file any replies in support of
motions in limine and Daubert motions.

September 20, 2023 | The Court will hear oral argument on all pending
motions as necessary, including motions in limine
and Daubert motions in Courtroom 29 in the
William B. Bryant Annex to the E. Barrett
Prettyman Courthouse at 10:00 a.m.

The United States shall file a Rule 404(b) notice
if it intends to seek admission of Rule 404(b)
evidence at trial.

September 21, 2023

The parties shall exchange proposed case-in-chief
exhibit lists. The exhibit list must contain a brief
description of each exhibit.

The parties shall exchange proposed case-in-chief
witness lists. Counsel will not be required to call
their witnesses in the sequence listed. In some
cases, security concerns may justify
nonidentification of witnesses by the United
States until shortly before they are called to
testify. In this situation, the United States will
include the number of unidentified witnesses in
its witness list and separately identify those
witnesses in a filing under seal. Defense counsel
shall not publicly disseminate the names of those
witnesses.

The United States shall provide to Ms. Baez all
Brady and Giglio evidence not previously
disclosed related to the witnesses on its witness
list, as well as any other Brady and Giglio
information not previously disclosed.

September 25, 2023

The parties shall furnish opposing counsel and the
Court two sets of exhibit lists and pre-marked
exhibits. All exhibits are to be marked in
advance of trial and listed in order on the exhibit
form obtained from the Courtroom Deputy Clerk.

The parties shall file any objections to the
admissibility of exhibits, to the extent practicable.

The parties shall provide to the Court any
stipulations executed or anticipated to be
executed.

The parties shall file proposed jury instructions,
proposed voir dire, and a proposed jury verdict

form. If there are any disagreements, the parties
shall file their own versions of these documents.

September 28, 2023 | The final pretrial conference and oral argument
on any outstanding motions or objections will be
held via Zoom video teleconference at 4:00 p.m.

SO ORDERED.

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PAUL L. FRIEDMAN
United States District Judge

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